   Case 21-30589-MBK             Doc 1517       Filed 02/17/22 Entered 02/17/22 11:46:37               Desc Main
                                              Document      Page 1 of 4



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)                          Order Filed on February 17, 2022
                                                                              by Clerk
                                                                              U.S. Bankruptcy Court
                                                                              District of New Jersey




                                                                  Case No.:              21-30589
                                                                                    ___________________
     In Re:
        LTL Management LLC                                        Adv. No.:         ___________________

                                                                  Chapter:                   11
                                                                                    ___________________

                                                                  Judge:            Michael B. Kaplan
                                                                                   ___________________



                                             ORDER FOR ADMISSION PRO HAC VICE
    
    
    
              The relief set forth on the following page is ORDERED.




DATED: February 17, 2022




    

                                                        1
Case 21-30589-MBK         Doc 1517      Filed 02/17/22 Entered 02/17/22 11:46:37         Desc Main
                                      Document      Page 2 of 4



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b) BAILEY GLASSER LLP
                                                     Brian A. Glasser (admitted pro hac vice)
   COOLEY LLP                                        Thomas B. Bennett (admitted pro hac vice)
   Cullen D. Speckhart (admitted pro hac vice)       Kevin W. Barrett (admitted pro hac vice)
   Michael Klein (admitted pro hac vice)             Maggie Burrus (admitted pro hac Vice
   Erica J. Richards (pro hac vice to be filed)      Cary Joshi
   Lauren A. Reichardt (pro hac vice to be filed)    105 Thomas Jefferson St. NW, Suite 540
   Evan M. Lazerowitz                                Washington, DC 20007
   55 Hudson Yards                                   Tel: (202) 463-2101
   New York, NY 10001                                Fax: (202) 463-2103
   Tel: (212) 479-6000                               Email: bglasser@baileyglasser.com
   Fax: (212) 479-6275                                              tbennett@baileyglasser.com
   Email: cspeckhart@cooley.com                                     kbarrett@baileyglasser.com
           mklein@cooley.com                                        mburrus@baieyglasser.com
          erichards@cooley.com                                      cjoshi@baileyglasser.com
          lreichardt@cooley.com
          elazerowitz@cooley.com
                                                     Proposed Co-Counsel to the
                                                     Official Committee of Talc Claimants II
   Proposed Co-Counsel to the
   Official Committee of Talc Claimants II
   WALDREP WALL BABCOCK & BAILEY                    MASSEY & GAIL LLP
   PLLC                                             Jonathan S. Massey (admitted pro hac vice)
   Thomas W. Waldrep, Jr. (admitted pro hac vice)   1000 Maine Ave. SW, Suite 450
   370 Knollwood Street, Suite 600                  Washington, DC 20024
   Winston-Salem, NC 27103                          Tel: (202) 652-4511
   Tel: (336) 717-1280                              Fax: (312) 379-0467
   Fax: (336) 717-1340                              Email: jmassey@masseygail.com
   Email: notice@waldrepwall.com
                                                    Proposed Co-Counsel to the
   Proposed Co-Counsel to the Official Committee of Official Committee of Talc Claimants II
   Talc Claimants II
   SHERMAN, SILVERSTEIN,
   KOHL, ROSE & PODOLSKY, P.A.
   Arthur J. Abramowitz
   Alan I. Moldoff
   Ross J. Switkes
   308 Harper Drive, Suite 200
   Moorestown, NJ 08057
   Tel: (856) 662-0700
   Email: aabramowitz@shermansilverstein.com
           amoldoff@shermansilverstein.com
           rswitkes@shermansilverstein.com

   Proposed Local Counsel to
   the Official Committee of Talc Claimants II
Case 21-30589-MBK           Doc 1517     Filed 02/17/22 Entered 02/17/22 11:46:37       Desc Main
                                       Document      Page 3 of 4



   In re:                                                 Chapter 11

   LTL MANAGEMENT LLC,                                    Case No.: 21-30589 (MBK)

                            Debtor.                       Honorable Michael B. Kaplan



                               ORDER FOR ADMISSION PRO HAC VICE

            The relief set forth on the following page is ORDERED.




                                                     2
Case 21-30589-MBK            Doc 1517     Filed 02/17/22 Entered 02/17/22 11:46:37                    Desc Main
                                        Document      Page 4 of 4


          This matter having been brought before the Court on application for an Order For Admission Pro
 Hac Vice; and the Court having reviewed the moving papers of the applicant, out-of-state attorney, and
 considered this matter pursuant to Fed. R. Civ. Proc. 78, D.N.J. L. Civ. R. 101.1 and D.N.J. LBR 9010-1,
 and good cause having been shown; it is

          ORDERED that Julie M. Veroff be permitted to appear pro hac vice; provided that pursuant to
 D.N.J. L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed promptly by a member of
 the bar of this Court upon whom all notices, orders and pleadings may be served, and who shall promptly
 notify the out-of-state attorney of their receipt. Only an attorney at law of this Court may file papers, enter
 appearances for parties, sign stipulations, or sign and receive payments on judgments, decrees or orders,
 and it is further

          ORDERED that the applicant shall arrange with the New Jersey Lawyers’ Fund for Client
 Protection for payment of the annual fee, for this year and for any year in which the out of-state attorney
 continues to represent a client in a matter pending in this Court in accordance with New Jersey Court Rule
 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the date of the entry
 of this Order, and it is further

          ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice admission
 to the District Court for the District of New Jersey shall also be payable within twenty (20) days of entry
 of this Order. Payment in the form of a check must be payable to “Clerk, USDC” and forwarded to the
 Clerk of the United States District Court for the District of New Jersey at the following address:

                                          United States District Court
                                            District of New Jersey
                                    Martin Luther King, Jr. Federal Building
                                               50 Walnut Street
                                             Newark, N.J. 07102
                                     Attention: Pro Hac Vice Admissions

          and it is further ORDERED that the applicant shall be bound by the Local Rules of the United
 States District Court for the District of New Jersey and the Local Rules of Bankruptcy Procedure for the
 District of New Jersey; and it is further

          ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
 Lawyers’ Fund for Client Protection within 5 days of its date of entry.




                                                       3
